    Case 2:17-cr-00221-MHT-WC Document 78 Filed 11/13/17 Page 1 of 4



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )       CRIMINAL ACTION NO.
        v.                            )         2:17cr221-MHT
                                      )              (WO)
BRANDON ANTHONY JOHNSON               )

                           OPINION AND ORDER

    This cause is before the court on defendant Brandon

Anthony Johnson’s motion to continue.                For the reasons

set forth below, the court finds that jury selection

and trial, now set for December 4, 2017, should be

continued pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer,      785   F.2d    1506,     1516   (11th Cir. 1986),         the

court    is   limited      by   the   requirements    of   the   Speedy

Trial Act, 18 U.S.C. § 3161.              The Act provides in part:

             “In any case in which a plea of not
             guilty is entered, the trial of a
             defendant charged in an information or
             indictment with the commission of an
             offense shall commence within seventy
             days from the filing date (and making
             public)   of    the   information   or
             indictment, or from the date the
    Case 2:17-cr-00221-MHT-WC Document 78 Filed 11/13/17 Page 2 of 4




          defendant   has   appeared  before   a
          judicial officer of the court in which
          such charge is pending, whichever date
          last occurs.”

§ 3161(c)(1).       The Act excludes from the 70-day period

any continuance based on “findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”       §     3161(h)(7)(A).               In    granting    such     a

continuance,       the    court         may     consider,    among    other

factors, whether the failure to grant the continuance

would     “result        in        a     miscarriage        of    justice,”

§ 3161(h)(7)(B)(i),           or       “would   deny    counsel    for    the

defendant ... reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence.”       § 3161(h)(7)(B)(iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Johnson in a speedy trial.

As the motion states, Johnson is released on bond and,

since his arraignment on October 10, 2017, has returned

to his residence in Los Angeles.                      Defense counsel has

                                         2
      Case 2:17-cr-00221-MHT-WC Document 78 Filed 11/13/17 Page 3 of 4




been unable to meet with Johnson since his departure,

and intends to travel to Los Angeles to discuss fully

Johnson’s options with him.                 Further, defense counsel

has      scheduling         conflicts         that         prevent         such

cross-country travel until at least November 16, 2017.

Although Johnson may be able to properly confer with

his counsel prior to the current trial date of December

4, this date would leave the parties with little time

to    prepare       pretrial     motions          and    engage      in     any

negotiations        in   light   of    Johnson’s        instructions.         A

continuance is warranted and necessary to allow counsel

for Johnson to prepare adequately and effectively for

the    jury    selection     and      trial       in    this   case.        The

government does not object to a continuance.

                                      ***

      Accordingly, it is ORDERED as follows:

      (1) The motion for continuance of defendant Brandon

Anthony Johnson (doc. no. 66) is granted.

      (2)     The   jury   selection        and    trial,      now   set   for

December 4, 2017, are reset for January 29, 2018, at


                                      3
    Case 2:17-cr-00221-MHT-WC Document 78 Filed 11/13/17 Page 4 of 4




10:00 a.m., in Courtroom 2FMJ of the Frank M. Johnson

Jr. United States Courthouse Complex, One Church

Street, Montgomery, Alabama.

    DONE, this the 13th day of November, 2017.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
